Case 2:19-cr-20026-GAD-EAS ECF No. 109-2 filed 09/05/19 PagelD.556 Page 1 of 25

 

 

 

 

 

 

 

    
   

 

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sll Yo Who SAMAR, a Lic.No:16-14-009/2013,R.L.Nor18-14-016-2049
or Whar, | 7 venereal apr H.No: 9-5-1, S.G.R. Colony, ‘Champapet,

R.R. Dist-500 079. Cell: 9395384788 |
AFFIDAVIT OF DECLARATION
| Mrs SAMA MOUNIKA REDDY W/o Sama Santosh Reddy aged about 25 years,
occupation: House wife, Resident of Home No:17-1-382/P/98, Press Colony, Opp S N Reddy

Gardens, Saidabad, Hyderabad 500060, State of Telangana, India, do hereby solemnly
affirm and state on oath as follows:

e 1) That | am the deponent herein and as such | am well acquainted with the facts of
e this affidavit.
2) | submit that | am wife of Santosh Sama married to him on 24 FEB 2018.
B 3) | convey that | am suffering with health issues related to heart and Gynec. Cardiac
surgery with surgical method named PBMV performed on 26 June 2018 at
Yashoda Hospital, Malakpet, Hyderabad and other surgery named
HYSTEROSCOPY AND SEPTUM RESECTION for Gynec need be performed only

B with his accepiance andin his presence.
4) | submit that my Husband is only bread winner and source of my family as | am a
k house wife who is completely dependent on him for my survival and medication.

_5) [submit that my husband never involved in any crime in India as of date.

Therefore | request the Honourable concerned authorities to show leniency and release him.

Please accept this above declaration which is true and correct to the best of my knowledge
and belief and nothing has been therein.

 
 
  
 

/ pence this affidavit.

   
     
  

    
   

        
  
 

 

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Case 2:19-cr-20026-GAD-EAS ECF No. 109-2 filed 09/05/19 PagelD.557 Page 2 of 25

 
Case 2:19-cr-20026-GAD-EAS ECF No. 109-2 filed 09/05/19 PagelD.558 Page 3 of 25

From: Mounika Sama,
Government press colony,
Hyderabad, India.

June 29, 2019.

To: Honourable Judge Gershwin A. Drain
United States District Court

231 Lafayette Blvd

Detroit, MI 48226.

Subject: letter to the judge in connection with Santosh Sama sentencing.
Dear judge Drain,

Your honour, | am Mounika Sama wife of Santosh Sama of age 25 years
Resident of Home No: 17-1-382/P/98 government press colony, Champapet,
Saidabad, Hyderabad 500059. Bearing anAadharnumber 5650 6412 2178
addressing you to urge leniency in the sentencing of my husband who is
appearing before your court and to express my life, struggles to live without
Santosh.

| and my family have known Santosh Sama as a long relative over years | was
troubled and shocked to hear and see news about Santosh conviction in news
channels as he always been a rather solid person.

Sir |am daughter of a normal farmer father who works in farms for a complete
day to provide food & shelter to my family by doing agriculture.

After hard struggles of our life’s | have got married to Santosh on 24th FEB
2018 selected by my father by knowing Santosh and his responsibilities
towards family, sisters living and their wellbeing as a father does to a family.

| as a wife feel proud of my husband for his academics, responsible nature and

for the way he stood with my mother-in-law at young age after losing my

father-in-law by working part time in hospital after his collage hours to meet

family necessities and maintain living along with the pension provided by the

government. He never lived for himself, it is not easy to protect a woman and

three girls throughout growing and providing them education and getting them
=:0-do settle in good positions like Teacher, Doctor and Government servant at

oh He cost of his life shows how selfless person he is.

 
     

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Case 2:19-cr-20026-GAD-EAS ECF No. 109-2 filed 09/05/19 PagelD.559 Page 4 of 25

| know Santosh’s love and care towards his loved ones is abundant. | strongly
remember the moment my mother-in-law shared with me about her spine
surgery for L4 LS gradell SPONDYLOLYSTHESIS made Santosh sacred most and
he was been with her day and night completely at the hospital till her recovery,
He was being at the back of doctors knowing about her condition and by giving
medicines to her at the prescribed time with lot of expressions of love and
happiness of having a son like him made me feel like a luckiest girl for having
him as husband.

His kind and compassionate nature comes out in his ever ready approach to
take on any kind of community service that is organized. His honesty makes
everyone fall for him as he is dedicated to the word he has given. He respect
elders who are senior citizens and help them more for their love in our
community as he hasn’t experienced father love, for which they came to our
home soon after knowing about the news in television with filled tears in their
eyes. He has become a family member in every house of our community.

All his qualities like loving, caring, responsible towards life and career, capable
and helping nature, standing up for friends, to his active participation in social
activities by serving poor and needy, taking care of his mother who lost her
husband so early shows a great son present within.

His friendly nature huge respect towards society and female etc. which made
me love him more and marry him to be his life partner.

After our wedding he became son even to my mother’s family giving us
strength by motivating with his great words with the experiences he faced
after his father passing away.

As expected he was so protective about me out of love, caring to me about my
health and medication, possessive of me,by taking me out for refreshment,
giving time to me to share my feelings, freedom which made me happiest girl
in the world knowing the good news that we are going to be parents soon.

But our happiness faded away by losing our baby After then | was attacked
with cardiac arrest with the breathlessness for which | underwent to a heart
surgery with the surgical method named PBMV (PERCUTANEOUS BALLON
MITRAL VALVULOPLASTY) for mitral valve stenosis performed on 26 JUNE 2018
at Yashoda Hospital situated at malakpet with inpatient id 228513 from then |
am under supervision of Dr. G. Sudarsana Reddy MD,DNB(Cardio)

CONSULTANT AND CHIEF CARDIOLOGIST Reg. no: 6489 with the hospital id YH
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: 215656634 regularly , with which my life has become miserable without
Santosh. Doctor prescribed me to wait for certain time for another surgery
named HYSTEROSCOPY AND SEPTUM RESECTION after PBMV as it involves
high risk due to complete body Anaesthesia as | am a cardiac patient to be
performed in presence of Santosh with his permission. My health condition is
DEALT ONLY AFTER SANTOSH RETURNBY DOING SURGERY WITH HIS
PERMISSION.This puts both me and he in high stress and the depression
causing to me about his current situation is eating my soul and body inside
which can only be solved by his presence with me.

As | am a cardiac patient under medication regularly alone with an injection
named penidure12 LA to maintain my heartbeat controlled. | am a house wife
who is completely dependent on him in every aspect like hospitality,
medication health, even for bread and butter and rest of my life by with which
my living has become miserable without Santosh.

Sir | am suffering from unfortunate things at my young age with lot of
difficulties in health physically, suffering mentally by missing my love life and
husband recently led to my depression for not withstanding to his current
situation and wishing to be in his arms for peace.

The transgression of offence committed should not be the only factor you look
at in this case, | hope you will also consider Santosh efforts to be better in his
responsibilities, in community, academics, future etc. as well as his strong
commitment to his family and also recently he has been under tremendous
stress due to health issues related to my Heart and Gyenic and struggling to
meet the treatments.

Santosh is incredibly remorseful and is willing to do whatever it takes to make
reparations emotionally if possible. But to do that he needs you to give an
opportunity to get a chance. | just hope you will recognise the power you wield
with regard to the future of Santosh Sama and make a fair decision.

| Mounika Sama admit the above written words and Description is true and
correct to an oath to God and | hereby depose my DECLARATION in the form of
AFFIDAVIT attested by Notary Public and also enclosing all my health reports
and identity proofs in the following supporting documents.

Thank you for taking your time to read my letter and know about my past with
Santosh Sama and my present struggles for life without him. It is my sincere
hope the court takes this letter in to consideration at the time of sentencing

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Case 2:19-cr-20026-GAD-EAS ECF No. 109-2 filed 09/05/19 PagelD.561 Page 6 of 25

and please let this be a factor in your decision as he had already experienced
detention to utmost time for unintentional thing.

Sir out of all, | am a girl honestly requesting you and concerned authorities of
USA to consider my words and save my life by giving a chance to my husband,
which in turn saves my life sir, please consider my request to release him and
save a patient life considering this to be my last wish by sending him soon for
which | will be very thankful to you and USA government throughout my life.

Thank you,
Yours Faithfully,

 

SIGNATURE: outs

NAME: Mounika Sama.

CONTACT NUMBER: 9069056666.
bral :- mrerntkacama23@ymall.com
 

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Case 2:19-cr-20026-GAD-EAS. ECF No. 109-2~ filed 09/05/19- PagelD.562 — Page 7 of 25

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re Unique Identification Authority of india
Government of India

 

E-Aadhaar Letter

eefgan /Enrolment No.; 2017/79743/14494

o Sama Mounika Reddy (2 STIS Oh) Aaiererdo

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“, WiO Sama Santosh Reddy, 17-1-382/P/98, Press wxr5. Remy gydsd, PAV,

= Colony, Opp Sama Narasimha Reddy Gardens, @ rites ailing’ pemarecig

§ Saidabad, Hyderabad, BARDS Gp = = oy
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= Telangana - 500059 a 2h OBHZW OBERT ordi Gao.

2b eer woay / Your Aadhaar No.: HFORMATION

# Aadhaar is a proof of identity, not of citizenship.
@ To establish identity, authenticate online.
@ This is electronically generated letter.

 

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mPa STS Oe Oeorp sae: Address:
W/O Sama Santosh Reddy, 17-1-
Sama Mounika Reddy W/O See 08h 04, 11 ivesishelinaetee. Sama

mho &&/ DOB: 12/02/1993 Saidabad, Hyderabad,

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Case 2:19-cr-20026-GAD-EAS ECF No. 109-2 filed 09/05/19 PagelD.563 Page 8 of 25

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Marriage No. : - 94/2018

Volume No. : 42

 

Certificate of Marriage

(UNDER THE HINDU MARRIAGE ACT, 1955)
(ACT NO, XXV OF 1955)

@___MD.ZAHEER AHMED
hogail contify thatS i, SAMA SANTOSH REDDY

 

 

 

and Smt. K.MOUNIKA REDDY (BEFORE MARRIAGE)
SAMA MOUNIKA REDDY ST.
appeared beforemethic___92"" __dayof. MARCH 07.3.0.

and that each of them, in my presence and in the presence of the
witnesses have declared that a ceremony of maniage has beew perfoumed
botuwcon thereon. 24" FEBRUARY 2018 and that
in accordance with theiv desire ta have theiv maviiage vegistered undew
Hindu Marriage sHet, the said marrige has, this 02" day

 

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REGISTRAR OF HINDU MARRIAGES

Registrar of Hindu Marriages
L.B. Nagar, Ranga Reddy Dist.{T.5.)

 

STATION: —C. R.O.L .B.NAG

 

 

DATE: O02 - OZ - 20/8

NOTE : Number of Corrections :

  

  
Case 2:19-cr-20026-GAD-EAS ECF No. 109-2 filed 09/05/19 PagelD.565 Page 10 of 25

Dr. Sudarsana Reddy.G

MD, D N B (Cardio)

Consultant & Chief Cardiologist
YASH O DA Reg.No:6489
HOS P [| TALS Email:sudarsana‘yahoo.com

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For Appointments please contact our 24/7 helpline number 8121066677, el 367 ]
Fees paid is valid for 02 more visits within 10 days

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YASHODA HEALTHCARE SERVICES PVT. LTD, MALAKPET

Registered Office: 16-10-29, Nalgonda 'X' Roads, Malakpet,

Hyderabad, Telangana - 500 036

Corporate Identity Number (CIN); U45200TG1993PTC016175 FOR EMERGENCY/QUERIES FOR APPOINTMENTS

email: malakpet@yashoda.in : www.yashodahospitals.com

 
Case 2:19-cr-20026-GAD-EAS ECF No. 109-2 filed 09/05/14; “WagaIS BS6* “Page 11 of 25

Consultant & ChiefCardiologist
Reg.No:6489
Email:sudarsana@yahoo,com

YASHODA Lie.
HOSPITALS Say

 

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KIVLELEALADAX Remarks : PAID REY
Name > MRS. MOUNIKA REDDY $ Age : 26 Year(s) Gender: Female
YH No : 218656634 Date : 12/6/2019 12:29 Ref By
Consultation Fee: Rs. 650 Rec.No: DFV104425/19 © Phone No: City: Saidabad
* FOLLOW UP VISIT"
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@ Valid for 2 more visits on or Before Daie : 21/06/2019

YASHODA HEALTHCARE SERVICES PVT. LTD, MALAKPET

Registered Office: 16-10-29, Nalgonda 'X' Roads, Malakpet,

Hyderabad, Telangana - 500 036

Corporate Identity Number (CIN): U45200TG1993PTC016175 FOR EMERGENCY/QUERIES FOR APPOINTMENTS

email: malakpet@yashoda.in ; www.yashodahospitals.com

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Case 2:19-cr-20026-GAD-EAS ECF No. 109-2 filed 09/05/19 PagelD.567 Page 12 of 25

 

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Review Advice:

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Dr, Signature:

 

Data : Time:
Case 2:19-cr-20026-GAD-EAS ECF No. 109-2 filed 09/05/73: SysaganaReady-Sp age 13 of 25
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Consultant & Chief Cardiologist
Reg.No:6489
Email:sudarsana@yahoo.com

YASHODA MP Oe SFE
HOSPITALS

Token No: 13

 

MOTE LELALIVA my Remarks : REV
Name : MRS. MOUNIKA REDDY S Age : 26 Year(s) Gender : Female
YH No > 215656634 Date : 16/2/2019 10:10 Ref By
Consultation Fee: Rs. 650 Rec. Na: DFV29640/19 Phone No : Citv: Saidahad
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Diagnosis : C Ke HD . Qwyt uw IIL . Date of Last Visit :
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For Appointments please contact our 24/7 helpline number 8121066677, 040 4567 4567
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Registered Office: 16-10-29, Nalgonda ‘x’ Roads, Malakpet,

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amail: malakpet@yashoda.in | www.yashodahospitals.com
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Case 2:19-Cr-20026-GA

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S_ECF No. 109-2 filed 09/05/19 PagelD.569 Page 14 of 25
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Review Advice:

 

Dr. Signature:

 

Date : Time:
Case 2:19-cr-20026-GAD-EAS ECF No. 109-2 filed 09/05/19 PagelD.570 Page 15 of 25

YASHODA
HOSPITALS DEPARTMENT OF CARDIOLOGY

 

NAME =. MRS. MOUNIKA REDDY § AGE : 26 YEARS SEX : FEMALE
YH NO. |. 215656634 IPNO. : - LOCATION: OPD
REFERRED BY : DR. SUDARSANA REDDY.G DIAG NO. : 6167045 STUDY DATE: 12/06/2019
2D ECHOCARDIOGRAM
MITRAL VALVE : Thickened leaflets, AML doming,
PML restrictive mobility.
MVA by PHT : 2.0em2:

MVA by Planimetry: 2,1em2,
Both commissures are opening well.

 

TRICUSPID VALVE : Normal,
AORTIC VALVE : Normal.
PULMONARY VALVE : Normal.
L.A. : 3.4x3.3x4,.2cm(Dilated)
A.O. :2.3cem
LV. : LVEDD :4.0cm EF :69%
LVESD > 24cm F S :34%
LvPW : 0.8m ———
RWMA : Nil RO) —
‘ RA : Normal. -
R.V : Normal. x
IVS : 0.8m.
- IAS : Intact.
IVC/SV/CS te
vasiR@pOre-RrenAreM ON iicr42/06/2019\08i58:07PM PreparedBy: DG42 “Page 1 of2
Registered Oflice: 16-10-29, Nalgonda X' Roads, Malakpet,
ee cee FOR EMERGENCY/QUERIES | FOR APPOINTMENTS

 

Corporate Identity Number (CIN): U45200TG 1993PTCO16175
email: malakpel@yashoda.in | www.yashodahospilals.com
Case 2:19-cr-20026-GAD-EAS ECF No. 109-2 filed 09/05/19 PagelD.571 Page 16 of 25

YASHODA
HOSPITALS DEPARTMENT OF CARDIOLOGY

NAME ’ MRS. MOUNIKA REDDY S AGE : 26 YEARS SEX > FEMALE
YH NO. 215656634 IPNO. > - LOCATION: OPD
REFERRED BY : DR. SUDARSANA REDDY.G DIAG NO. : 6167045 STUDY DATE : 12/06/2019

PERICARDIUM _ : No Pericardial Effusion.

INTRACARDIAC MASSES : Nil.

COLOUR DOPPLER : No MR/ AR, Trivial TR.
DOPPLER STUDY : Pul.V.Max :0.7mts/sec. PAT : 173millisec.
Aor. V.Max: 1.4mts/sec.
MVG :PG/MG: 10/5mmHg.
CONCLUSION: #* Post PBMV status.
* Mild MS, Trivial TR.
* Dilated LA.
* No LV RWMA.

* Good LV / RV function.

   

* No LV Clot, No PE.
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SN) ay!
CP DR.SUDARSANA G.REDDY
: MD. DNB.
TECHNOLOGIST CHIEF CARDIOLOGIST
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meee Oihoe 6-10-29 NalgondaX Honde Magia Prepared By: DG42 Page 2 of 2

email: malakpel@yashoda.in = www, yashodahospilals.com : |
_ Case 2:19-cr-20026-GAD-EAS ECF No. 109-2 filed 09/05/19 PagelD.572 Page 17 of 25

YASHODA 1 MRS. MOUNIKA REDDY $/228513
HOSPITALS

ll IVT AMAA

DISCHARGE SUMMARY

Name : MRS, MOUNIKA REDDY S$ Date of Admission : 25/06/2018
IP.No > 228513

Age : 25 Year(s) Female Date of Discharge : 28/06/2018
Address : W/O MR.SANTOSH REDDY SAMA Type : Self Paying

## 17-1-382/P/98, PRESS COLONY,
OPP: S N REDDY GARDENS, Saidabad
Hyderabad, Hyderabad TELANGANA
PHONE : 8187060823
YH.No : 215656634 a z
CHIEF CONSULTANT: Dr. Sudarsana Reddy.G 1) VOD “| | ry | (&
MD, DN B (Cardio)
Consultant & Chief Cardiologist Reg.No:6489
Email: sudarsana@yahoo.com
Dr.Shabarinath.S
MD, DNB (Cardio).
Email: Shabaril 36@gmail.com.
Associate cardiologist
Reg.No : 82795

DIAGNOSIS:
* CRHD
* SEVERE MS - NSR

* TRIVIAL MR, MILD TR, MODERATE PAH
* PBMV (26/06/2018)

 

 

 

CHIEF COMPLAINT:
4 ~~: C/o Breathlessness. And chest pain radiating to backleft leg pain.

HISTORY OF A 25 years old female patient presented with c/o breathlessness associated

IL : , ‘ ‘
PRESENT ILLNESS: with chest pain (back side of scapula), left leg pain, was evaluated found to

have CRHD - Severe MS , admitted for further evaluation and

management.
PAST HISTORY: Nil significant

PERSONAL HISTORY: Nil significant

FAMILY HISTORY: Nil significant.

Physical Examination:
General Examination:

 

Temp: 98.6°F ‘
PR: 82/min : 3
YASHODA HEALTHCARE SERVICES PVT. LTD, MALAKPET : e
Registered Office: 16-10-29, Nalgonda % Roads, Malakpelt
cerabeg: eee ee : FOR EMERGENCY/QUERIES | FOR APPOINTMENTS fy
Corporate Identity Number (CIN): U45200TG1993PTCO16175 “ SETA es IAP - NT i ip

email: malakpet@yashoda.in www.yashadahospitals.com

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Case 2:19-cr-20026-GAD-EAS ECF No. 109-2 filed 09/05/19 PagelD.573 Page 18 of 25

YASHODA 2 MRS. MOUNIKA REDDY $/228513
HOSPITALS

BP: 110/80mm Hg

RR: 22/min

Systemic Examination:
RS: Bilateral air entry

CVS: Sl1+, S2+.MDM+
P/A: Soft, BS+
CNS: No focal neurological deficit

Radiology Reports:
26/06/2018

PBMV REPORT
Cath No: 28744

PBMV done through Right Femoral Approach. Pressure catheters: RFA-6F, RFV-7F
Commisurotomy with (ACCURA) Balloon. Balloon dilated up to: 24 mm

Height:163 Cms Weight: 54 Kgs.

 

No. PRE POST

1. Heart Rate 90 BPM 108 BPM

2. LA 39 mean mm Hg 26 mean mm Hg
3.A0 110/70 mm Hg 120/70 mm Hg
4, LV EDP 10mm Hg 20 mm Hg

MR ++

9. LA - LV ( Gradient) 30 mm Hg 6 mm Hg

 

COMPLICATIONS: Nil.

‘ RESULT : Good.
28/06/2018
2D ECHOCARDIOGRAM

MITRAL VALVE : Thickened leaf lets, AML doming, PML restricted,
Both commissures split.

MVA by planimetry - 2.0 Sqem.

TRICUSPID VALVE : Normal.

AORTIC VALVE : Normal.

PULMONARY VALVE : Normal. GY RAS gg WO J eH
L.A. : 4.0 cm (Mildly dilated) Ne, Se” SY 8
° > arf), 2. 5

A.O. : 2.6 cm Ser 3X
YASHODA HEALTHCARE SERVICES PVT LTD, MALAKPET ves =
Registered Olfice; 16-10-29, Nalgonda *' Roads, Malakpet ;
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Corporate Identity Number (CIN): U45200TG 1993PTCO181 75 OR EMERGE VERIES: | FO Ss '@)

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email: malakpet(@yashoda.in www. yashodahaspitals.com nan
 

 

YASHODA
HOSPITALS

L.V.: LVEDD : 3.8 cm E F : 63 %
LVESD : 2.5 em FS: 32 %

LVPW : 0.9 cm

RW MA: Nil

R.A : Normal.

R.V : Normal.

IVS$:0.9 cm.

IAS: Intact.

IvC / SV / CS: -

PERICARDIUM : No Pericardial Effusion.

INTRACARDIAC MASSES : Nil.

COLOUR DOPPLER : No MR / AR, Trivial TR.

3 MRS. MOUNIKA REDDY 8/228513

DOPPLER STUDY : Pul.V.Max : 0.9 mts/sec. PAT : 141 millisec.

Aor.V.Max: 1.1 mts/sec.
MVG : PPG/ MPG: 9/5 mmHg.

Tissue Doppler Imaging :
Medial annulus: e'/a’: 6.3/ 8.9 cm/sec
'S' wave : 7.6 cm/sec

Lateral annulus: e'/a’ : 9.4/ 6.3 cm/sec
‘Ss’ wave : 7.4 cm/sec

« Tricuspid : Lateral annulus: e'/a’ : 8.1/ 10.6 cm/sec

‘'S' wave : 9.2 cm/sec
CONCLUSION: * CRHD.,

* Post PBMV status.

* Valve opening well (MVA by planimetry 2.0 Sqcm).

* No LV RWMA.
* Good LV / RV function.
* Trivial TR, No Pulmonary hypertension.

* No LV Clot, No PE.
PROCEDURE PERFORMED :

 
     

YASHODARERETITS? oeMVtolo Pv LI, Wits :
Registered Office: 16-10-29, Nalgonda 'X' Roads, Malakpet
Hyderabad, Telangana - 500 036

Corporate Identity Number (CIN): U45200T G1993PTCO16175
email: malakpel@yashoda.in www.yashocdahospitals.corm

 

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Case 2:19-cr-20026-GAD-EAS ECF No. 109-2 filed 09/05/19 PagelD.575 Page 20 of 25

YASHODA 4 MRS. MOUNIKA REDDY $/228513
HOSPITALS

A 25 years old female admitted with CRHD , Severe MS. Necessary investigations
done.Pretreated IV antibiotics, Patient underwent PBMV on 26/06/2018 through RFA/ RFV
approach. Procedure and post procedure uneventful. Patient treated with antibiotics, beta
blockers, anti pyretics , Diuretics and other supportive medications. Now patient is

haemodynamically stable. Being discharged with following advised medications.

RECOMMENDATIONS AT DISCHARGE:

S.NO DESCRIPTION DOSE ROUTE TIMINGS DURATION REMARKS
ONCE IN3 NEXT DOSE ON AFTER TEST
1. INJ.PENIDURE 12LAKHS IM wanes 09/07/2018 ‘DOSE
2. CAP.AMOXICILLIN 500MG ORAL 6"HRLY 3 DAYS | |
_— 9AM. —s CONTINUE TILL
1
3. TAB.LASILACTONE ¥2TAB ORAL REVIEW
< 3AM, CONTINUE TILL
4. TAB.PROLOMET-XL 12.5MG ORAL REVIEW
5. TAB.LONAZEP 0.25MG ORAL 9PM. 5 DAYS
6. TAB.DOLO ‘650MG ORAL SOS
ADVISE:

Normal diet.

CONDITION AT DISCHARGE :STABLE.

REVIEW AFTER 10 DAYS IN OPD/SOS.

One free review consultation will be permitted with in 10 days of discharge from the hospital.
For Review visits contact 040-4567 4567 (24hrs) for prior appointments.

In case of shortness of breath, chest pain, retrosternal chest pain, sweating report to emergency
room in ground floor of this Hospital (or) call Emergency room Telephone No. 040 67777888
(Ext-7122/7121) / 040 24557012 . -

 

   
   

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YASHODA HEALTHCARE SERVICES PVT. LTD, MALAKPET MNES : cy om t ‘
Registered Office: 16-10 Jalgonda '*' Roads, Malakpet sri Krishna Devaraya Nag =H. Al
Hyderabad, Telangana - 500 036 . hee mehiegeninasie: © fe Pies ha ere a:
Corporate Identity Number (CIN): U45200TG1993PTCO16175 FOR EMERGENOYPQUERIES FOR APPOINTMENTS { &) ]

email: malakpel(@yashoda.in  www-.yashodahospitals.com

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Case 2:19-cr-20026-GAD-EAS ECF No. 109-2 filed 09/05/19 PagelD.576 Page 21 of 25

YASHODA

HOSPITALS — pEpARTMENT OF CARDIOLOGY

“NAME =: MRS,MOUNIKAREDDYS = ~—AGE_: «25 YEARS SEX ~:~ FEMALE
YH NO. > 215656634 IPNO, > 228513
REFERRED BY : DR. SUDARSANA REDDY.G — DIAG NO. 5052490 — STUDY DATE : 26/06/2018
PBMV REPORT

Cath No: 28744
PBMVdone through Right Femoral Approach. Pressure catheters: RFA-6F, RE V-7F
Commisurotomy with (ACCURA) Balloon. Balloon dilated up to: 24 mm

Height:163 Cms Weight: 54 Kgs.

 

 

No. PRE POST
1, Heart Rate 90 BPM 108 BPM
2.LA 39 mean mm Hg 26 mean mm Hg
3,.A0 110/70 mm Hg 120/70 mm Hg
4, LV EDP 10mm Hg 20 mm Hg
MR + oat +

& YERO 4 ah
5. LA- LV ( Gradient) 30 mm Hg 6mm Hg
COMPLICATIONS:Nil. [= ge
RESULT : Good.

 

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Dr th 7 Dr Sudarsana Reddy, MD, DNB
M -Med), DNB (Cardiology) Sr. Interventional Cardioloist

Interventional Cardioloist

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“Report preparedon: 28/06/2018 01:08:32PM Prepared By; = CAT  =—S#Page:«|~Ctéf« 2

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YASHODA HEALTHCARE SERVICES PVT. LTD, MALAKPET

Registered Office: 16-10-28, Nalgonda X' Roads, Malakpet.

Hyderabad, Telangana - 500 036

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email: malakpel@yashoda.in © www.yashodahospitals.com Ogute S
 

Case 2:19-cr-20026-GAD-EAS ECF No. 109-2 filed 09/05/19 PagelD.577 Page 22 of 25

DEPARTMENT OF CARDIOLOGY

 

 

NAME =: MRS. MOUNIKA REDDY S AGE : 25 YEARS
YH NO. : 215656634 IP NO.
REFERRED BY : DR. SUDARSANA REDDY.G DIAG NO. : 5028162 STUDY DATE
2D ECHOCARDIOGRAM
MITRAL VALVE : Thickened leaf lets, AML doming, PML restricted.
Pliable valve, MVA by planimetry 0.9 Sqem.
TRICUSPID VALVE : Normal.
AORTIC VALVE : Normal.
PULMONARY VALVE : Normal.
L.A. 24.2 x 4.2 x 4.4 cm (Mildly dilated)
A.O. :2.3cm
LV. : LVEDD 739 Om EF :65%
LVESD :2.4cm FS :33%
LVPW : 0.8 cm

RWMA : Nil

RA : Normal.
“ R.V : Normal.

IVs : 0.8 cm.
IAS : Intact.
IVC/SV/CS :

PERICARDIUM _ : No Pericardial Effusion.

INTRACARDIAC MASSES : Nil.

> oReport prepared.on.:-- 18/06/2018.,.03:51:55PM Prepared By: DG12 Page |

  

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LOCATION :

: 18/06/2018
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REFERRED BY :

Case 2:19-cr-20026-GAD-EAS ECF No. 109-2 filed 09/05/19 PagelD.578 Page 23 of 25

DEPARTMENT OF CARDIOLOGY

NAME : MRS. MOUNIKA REDDY S&S AGE 25 YEARS SEX FEMALE
YH NO. > 215656634 IP NO. LOCATION > OPD
DIAG NO. : 5028162 STUDY DATE : 18/06/2018

COLOUR DOPPLER

DOPPLER STUDY

CONCLUSION:

DR. SUDARSANA REDDY.G

: No MR/ AR, 2/4 TR.

; Pul.V.Max : 0.9 mts/sec. PAT : 151 millisec.
Aor.V.Max: 1.4 mts/sec.

MVG : PPG/ MPG : 26/15 mmHg

TRJV : 3.1 mts/sec

RVSP: 50mm of Hg.

* CRHD.

* Severe MS, No MR.

* Mildly dilated LA.

* 2/4 TR, Moderate Pulmonary hypertension.
* Good LV systolic function.

* No LV Clot, No LA/ LAA clot.

* No Pericardial effusion.

{} DR.SUDARSANA G.REDDY DR. MANORAMA
| MD. DNB. DEPT. OF CARDIOLOGY —
CHIEF CARDIOLOGIST _ apaitel BTR
CPEs (Sh VFINIUOSN :
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a. BASE DISCUSS ;
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Report prepared on: 18/06/2018,,03:51:55PM Prepared By:  DGI2 Page 2 of 2
egistered Office: 16-10-29. Nalgond Roads. Malakp
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YASHODA
HOSPITALS DEPARTMENT OF CARDIOLOGY
NAME — : MRS. MOUNIKA REDDY S$ AGE : 25 YEARS SEX FEMALE
YH NO. > 215656634 IPNO. : 228513 LOCATION: 415A
REFERRED BY : DR. SUDARSANA REDDY.G DIAG NO. : 5058953 STUDY DATE : 28/06/2018
2D ECHOCARDIOGRAM
MITRAL VALVE : Thickened leaf lets, AML doming, PML restricted.
Both commissures split.
MVA by planimetry - 2.0 Sqem.
TRICUSPID VALVE : Normal.
AORTIC VALVE : Normal.
PULMONARY VALVE : Normal.
L.A. : 4,0 cm (Mildly dilated)
A.O. :2.6cm
L.V. : LVEDD > 3.8 cm EF 763%
LVESD 1 Z.5:6m FS :32%
LVPW : 0.9 cm

RW MA : Nil

RA : Normal.
. R.V : Normal.
IVS : 0.9 cm.
IAS : Intact.
IVG/SV/CS :
PERICARDIUM _ : No Pericardial Effusion.
INTRACARDIAC MASSES : Nil.
oo RBBOtRLGPAIGH Ori" 28/0012018'41'37;36AM Prepared By: DGI2 Page | of 2
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email: malakpet@yashada.in www.yashodahospitals.com |
 

YASHODA
HOSPITALS DEPARTMENT OF CARDIOLOGY

NAME =: MRS. MOUNIKA REDDY S AGE : 25 YEARS SEX : FEMALE
YH NO.  : 215656634 IPNO, : 228513 LOCATION: 415A

REFERRED BY : DR. SUDARSANA REDDY.G DIAG NO. : 5058953 STUDY DATE : 28/06/2018

COLOUR DOPPLER : No MR/AR, Trivial TR.
DOPPLER STUDY : Pul. V.Max : 0.9 mts/sec. PAT : 141 millisec.

Aor.V.Max: 1.1 mts/sec.
MVG : PPG/ MPG: 9/5 mmHg.

Tissue Doppler Imaging :
Medial annulus : e'/a' : 6.3/ 8.9 cm/sec

'S' wave : 7.6 cm/sec

Lateral annulus : e’/a’ : 9.4/ 6.3 cm/sec
'S' wave : 7.4 cm/sec

Tricuspid: Lateral annulus: e’/a' : 8.1/ 10.6 cm/sec
'S'wave  : 9.2 cm/sec
CONCLUSION: *CRHD.
* Post PBMV status.

* Valve opening well (MVA by planimetry 2.0 Sqcm).

 

* No LV RWMA.
&
* Good LV /RYV function.
* Trivial TR, No Pulmonary hypertension.
* No LV Clot, No. PE.
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og Gd. WS ps eee: ut CHIEF CARDIOLOGIST ~
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hea S@RONL RE nas ea 36AM Prepared By: DGI2 Page 2 of 2
Hyderabad * alangana - 500 036
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